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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
              v.                             :   Criminal Case No. 21-582 (CRC)
                                             :
MICHAEL A. SUSSMANN,                         :
                                             :
                       Defendant.            :


  SUPPLEMENTAL FILING REGARDING GOVERNMENT’S DISCOVERY UPDATE
  AND REQUEST FOR ADDITIONAL TIME TO PRODUCE RESIDUAL DISCOVERY
                           MATERIALS

       1.       The United States of America, by and through its attorney, Special Counsel John H.

Durham, respectfully submits the below clarifying information concerning paragraph 10(a)(ii) of

the “Government’s Discovery Update and Request for Additional Time to Produce Residual

Discovery Materials.” Dkt. No. 33 at 15.

       2.       Paragraph 10(a)(ii) states: “[I]n early January 2022, the Special Counsel’s Office

learned for the first time that the OIG currently possesses two FBI cellphones of the former FBI

General Counsel to whom the defendant made his alleged false statement, along with forensic

reports analyzing those cellphones.” Id. The Government wishes to provide some additional

context for this statement.

       3.       After reviewing the Special Counsel’s Office’s public filing, the DOJ Office of

Inspector General (“OIG”) brought to our attention based on a review of its own records that,

approximately four years ago, on February 9, 2018, in connection with another criminal

investigation being led by then-Acting U.S. Attorney Durham, an OIG Special Agent who was

providing some support to that investigation informed an Assistant United Attorney working with

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Mr. Durham that the OIG had requested custody of a number of FBI cellphones. OIG records

reflect that among the phones requested was one of the two aforementioned cellphones of the then-

FBI General Counsel. OIG records further reflect that on February 12, 2018, the OIG Special Agent

had a conference call with members of the investigative team, including Mr. Durham, during which

the cellphones likely were discussed. OIG records also reflect that the OIG subsequently obtained

the then-FBI General Counsel’s cellphone on or about February 15, 2018. Special Counsel Durham

has no current recollection of that conference call, nor does Special Counsel Durham currently

recall knowing about the OIG’s possession of the former FBI General Counsel’s cellphones before

January 2022.

       4.       On January 5, 2022, members of Special Counsel Durham’s current investigative

team conducted a conference call with the FBI’s Inspection Division in an effort to obtain

information about call log data for the former FBI General Counsel. Subsequent to that call, on

January 6, 2022, personnel from the FBI’s Inspection Division informed the Special Counsel’s

Office via email that the OIG currently was maintaining custody of the former General Counsel’s

FBI cellphones.     On January 7, 2022, the Special Counsel’s Office requested information

concerning the cellphones from the OIG so that it could make any appropriate disclosures in

accordance with the Court’s pretrial scheduling order. The OIG provided the requested information

on January 10, 2022.

       5.       The prosecution team has produced to the defense today OIG forensic reports of the

aforementioned two cellphones. Moreover, at the request of the Special Counsel’s Office, the OIG

conducted additional forensic examination of those cellphones earlier this month and, on the

evening of January 26, 2022, provided the Special Counsel’s Office with those additional,


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completed forensic reports, which the prosecution team will produce to the defense upon review.

After reviewing the OIG’s records from the aforementioned criminal investigation referenced in

Paragraph 3 above, the Special Counsel’s Office also recently requested and will review additional

cellphones in the OIG’s possession for discoverable materials.

       .


                                            Respectfully submitted,

                                            JOHN H. DURHAM
                                            Special Counsel

                                            By:

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